Case 1:20-cr-10271-DPW Document 43 Filed 02/04/21 Page1of5

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

)
)
UNITED STATES OF AMERICA )
)

v. ) No. 20-CR-10271
)
CEDRIC CROMWELL, )
Defendant )
)
)

 

MOTION FOR BILL OF PARTICULARS

The Defendant, Cedric Cromwell (“Cromwell”), by and through undersigned counsel,
respectfully requests, pursuant to Federal Rule of Criminal Procedure 7(f) and the Fifth and
Sixth Amendments to the United States Constitution, that this Court order the government to
provide a bill of particulars.

Legal Background

An indictment must provide a “plain, concise, and definite written statement of the
essential facts constituting the offense charged.” Fed. R. Crim. P 7(c)(1). An indictment “should
lay out the elements of the charge and the factual circumstances underlying them.” United
States v. Elliott, 689 F.2d 178, 180 (10th Cir. 1982); see also Yates v. United States, 404 F.2d
462, 464 (1st Cir. 1968) (noting that “indictment’s primary goal” is “that defendant be appraised
with reasonable certainty of the nature of the charge against him”). An indictment is only
sufficient “if it specifies the elements of the offense charged, fairly apprises the defendant of the
charge against which he must defend, and allows him to contest it without fear of double
jeopardy.” United States v. Eirby, 262 F.3d 31, 38 (1st Cir. 2001). As the First Circuit

explained:
Case 1:20-cr-10271-DPW Document 43 Filed 02/04/21 Page 2 of 5

A vital function of an indictment is to provide such description of the particular
act alleged to have been committed by the accused as will enable him properly to
defend against the accusation .. . . This principle is derived directly from the
Sixth Amendment’s guarantee of the right of an accused to be informed of the
nature and cause of the accusation . . . and is basic to the proper functioning of
our adversary system of justice. Without sufficient information to identify that
conduct which the grand jury has deemed adequate to support an indictment, an
accused is at a material disadvantage in meeting the charge against him.

United States v. Tomasetta, 429 F.2d 978, 979 (1st Cir. 1970) (internal quotation marks
omitted).

In addition to reciting the elements of the charge, an indictment must also “sufficiently
appraise the defendant ‘of what he must be prepared to meet.” Russell v. United States, 369
U.S. 749, 764 (1962). The general description of the offense can include the statutory language,
but “it must be accompanied with such a statement of the facts and circumstances as will inform
the accused of the specific offence, coming under the general description, with which he is
charged.” Hamling v. United States, 418 U.S. 87, 117-18 (1974). Although the indictment need
not allege “every factual nugget necessary for conviction,” it must provide “some means of
pinning down the specific conduct at issue.” United States v. Smith, 230 F.3d 300, 306 (7th Cir.
2000).

The specificity demanded of indictments protects the accused’s Sixth Amendment right
to be informed of the “‘nature and cause’” of the accusation. United States v. Prentiss, 206 F.3d
960, 964 (10th Cir. 2000) (quoting United States v. Gayle, 967 F.2d 483, 485 (11th Cir. 1992)).
As the Supreme Court explained:

To allow the prosecutor, or the court, to make a subsequent guess as to what was

in the minds of the grand jury at the time they returned the indictment would

deprive the defendant of a basic protection which the guaranty of the

intervention of a grand jury was designed to secure. For a defendant could then

be convicted on the basis of facts not found by, and perhaps not even presented
to, the grand jury which indicted him.
Case 1:20-cr-10271-DPW Document 43 Filed 02/04/21 Page 3 of 5

Russell, 369 U.S. at 770. Finally, the indictment must enable the defendant to assert a double

jeopardy defense at any subsequent proceeding. Eirby, 262 F.3d at 38.

Requests

For the reasons set forth in Defendant David DeQuatrro’s Motion to Dismiss (Dkt. #34)

and Defendant David DeQuatrro’s Reply to the Government’s Opposition to his Motion to

Dismiss (Dkt. #41), both of which Mr. Cromwell joined, as well as Defendant Cedric

Cromwell’s Motion to Dismiss, the indictment in this case does not meet these requirements,

and the defendants ask this Court to order the government to provide a bill of particulars

specifying the following information:

1. With respect to Counts 1, 2 and 3, identify as to each bribery count:

a) the time, place, manner and means of the quid pro quo between Mr.
Cromwell and Mr. DeQuattro;

b) the nature, time, place, manner and means of the official act(s);

c) the nature, time, place, manner and means by which Mr. Cromwell
exercised any discretion or exerted any influence in connection with the
performance of an official act;

d) the individual or entity who was the subject matter of the exercise of Mr.
Cromwell’s discretion or influence;

e) the nature and form of each action or inaction that resulted from the
exercise of Mr. Cromwell’s discretion or influence;

f) the identity of each individual whose action or inaction was impacted
from the exercise of Mr. Cromwell’s discretion or influence;

g) the date and place where Mr. Cromwell exercised any discretion or

exerted any influence in connection with the performance of an official
act such consent was given;

2. In connection with Counts 6 through 10, identify as to each extortion count:
Case 1:20-cr-10271-DPW Document 43 Filed 02/04/21 Page 4 of 5

b)

g)

h)

the time, place, manner and means by which contributions were received
by Mr. Cromwell with the knowledge that they were in exchange for an
official act;

the nature of the expression by which Mr. Cromwell’s expressed his
knowledge that contributions received were in exchange for an official
act;

the time, place, manner and means by which Mr. Cromwell implicitly
agreed to perform an official act in exchange for contributions;

the time, place, manner and means of the performance by Mr. Cromwell
of an official act in exchange for contributions;

the identity of those who witnessed or have knowledge of the
performance by Mr. Cromwell of an official act in exchange for
contributions;

the time, place manner and means by which an explicit quid pro quo was
expressed or understood between Mr. Cromwell and Mr. DeQuattro; he

time, place and nature of the denials;

the nature and form of each explicit quid pro quo was expressed or
understood between Mr. Cromwell and Mr. DeQuattro;

the time, place, manner and means by which Mr. Cromwell
communicated an explicit promise to Mr. DeQuattro to perform or not
perform an official act;

the nature, time, place, manner and means of the official act(s);

Conclusion

For the foregoing reasons, set forth in Defendant David DeQuatrro’s Motion to Dismiss

(Dkt. #34) and Defendant David DeQuatrro’s Reply to the Government's Opposition to his

Motion to Dismiss (Dkt. #41), both of which Mr. Cromwell joined, as well as Defendant Cedric

Cromwell’s Motion to Dismiss, the defendant respectfully requests this Court order the

government to provide a bill of particulars.
Case 1:20-cr-10271-DPW Document 43 Filed 02/04/21 Page 5 of 5

Respectfully Submitted
CEDRIC CROMWELL

By His yt O _—

Timothy R. Flahérty
FLAHERTY LAW OFFICES
699 Boylston Street, 12" Floor
Boston, MA 02116
(617) 227-1800
BBO # 557477

Dated: February 4, 2021

CERTIFICATE OF SERVICE

I hereby certify that the above document was sent electronically to the registered
participants as identified on the Notice of Electronic Filing (NEF) and paper copies will be sent
to those indicated as non-registered participants on this date.

/s/ Timothy R. Flaherty
Timothy R. Flaherty
